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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 BLUEPRINT IP SOLUTIONS LLC,

                       Plaintiff,
                                                  Civil Action No.
       v.
                                                  TRIAL BY JURY DEMANDED
 ORACLE CORPORATION,

                       Defendant.

                    COMPLAINT FOR INFRINGEMENT OF PATENT

       Now comes, Plaintiff, Blueprint IP Solutions LLC (“Plaintiff” or “Blueprint IP Solutions”),

by and through undersigned counsel, and respectfully alleges, states, and prays as follows:

                                    NATURE OF THE ACTION

       1.      This is an action for patent infringement under the Patent Laws of the United States,

Title 35 United States Code (“U.S.C.”) to prevent and enjoin Defendant Oracle Corporation

(hereinafter “Defendant”), from infringing and profiting, in an illegal and unauthorized manner,

and without authorization and/or consent from Plaintiff from U.S. Patent No. 8,089,980 (“the ‘980

Patent” or the “Patent-in-Suit”), which is attached hereto as Exhibit A and incorporated herein by

reference, and pursuant to 35 U.S.C. § 271, and to recover damages, attorney’s fees, and costs.

                                         THE PARTIES

       2.      Plaintiff is a Texas limited liability company with its principal place of business at

6009 West Parker Road, Suite 149-1009, Plano, TX 75093.

       3.      Upon information and belief, Defendant is a corporation organized under the laws

of Delaware, having a principal place of business at 500 Oracle Parkway, Redwood Shores, CA

94065. Upon information and belief, and according to the Delaware Secretary of State’s website,

Defendant may be served with process c/o one of the following: (i) The Corporation Trust



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Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801 and/or

(ii) Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808.

        4.      Plaintiff is further informed and believes, and on that basis alleges, that Defendant

operates the website www.oracle.com, which is in the business of providing computing solutions

and services, amongst other things. Defendant derives a portion of its revenue from sales and

distribution via electronic transactions conducted on and using at least, but not limited to, its

Internet website located at www.oracle.com, and its incorporated and/or related systems

(collectively the “Oracle Website”). Plaintiff is informed and believes, and on that basis alleges,

that, at all times relevant hereto, Defendant has done and continues to do business in this judicial

district, including, but not limited to, providing products/services to customers located in this

judicial district by way of the Oracle Website.

                                  JURISDICTION AND VENUE

        5.      This is an action for patent infringement in violation of the Patent Act of the United

States, 35 U.S.C. §§ 1 et seq.

        6.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).

        7.      This Court has personal jurisdiction over Defendant by virtue of its systematic and

continuous contacts with this jurisdiction and its residence in this District, as well as because of

the injury to Plaintiff, and the cause of action Plaintiff has risen in this District, as alleged herein.

        8.      Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to its substantial business in this forum, including: (i) at least a portion of the

infringements alleged herein; (ii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, and/or deriving substantial revenue from goods and services




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provided to individuals in Delaware and in this judicial District; and (iii) being incorporated in this

District.

        9.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b) because

Defendant resides in this District under the Supreme Court’s opinion in TC Heartland v. Kraft

Foods Group Brands LLC, 137 S. Ct. 1514 (2017) through its incorporation, and regular and

established place of business in this District.

                                   FACTUAL ALLEGATIONS

        10.     On January 3, 2012, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘980 Patent, entitled “METHOD FOR PROTECTION SWITCHING

OF GEOGRAPHICALLY SEPARATE SWITCHING SYSTEMS” after a full and fair

examination. The ‘980 Patent is attached hereto as Exhibit A and incorporated herein as if fully

rewritten.

        11.     Plaintiff is presently the owner of the ‘980 Patent, having received all right, title

and interest in and to the ‘980 Patent from the previous assignee of record. Plaintiff possesses all

rights of recovery under the ‘980 Patent, including the exclusive right to recover for past

infringement.

        12.     The invention claimed in the ‘980 Patent comprises a method for protections

switching of geographically separate systems arranged in pairs.

        13.     The ‘980 Patent contains sixteen claims, namely three independent claims and

thirteen dependent claims.

        14.     Claim 1 of the ‘980 Patent states:

                       “1. A method for protection switching of geographically separate switching
                systems arranged in pairs, comprising:
                       providing a pair of switching systems which are geographically separate and
                which supply a dedicated redundancy to each other, one of the pair of switching


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               systems is in an active operating state and the other is in a hot-standby operating
               state;
                       controlling the communication between the each of the pair switching
               system and a monitoring unit in accordance with the an operating state of the
               respective switching system;
                       when a loss of the communication to the switching system in the active
               operating state occurs:
                       activating, by the monitoring unit, the switching system in the hot-standby
               operating state to be in the active operating state, and deactivating, by the
               monitoring unit, the switching system with the communication loss to be in the hot-
               standby operating state, wherein when in the hot-standby operating state, the
               respective switching system is not active in terms of switching functions; and
               further features: periodically sending an IP lease request to the monitoring unit by
               a packet-based interface of the switching system in the hot-standby operating state,
               the packet-based interface is in an inactive state.” See Exhibit A.

       15.     Defendant commercializes, inter alia, methods that perform all the steps recited in

at least one claim of the ‘980 Patent. More particularly, Defendant commercializes, inter alia,

methods that perform all the steps recited in Claim 1 of the ‘980 Patent. Specifically, Defendant

makes, uses, sells, offers for sale, or imports a method that encompasses that which is covered by

Claim 1 of the ‘980 Patent.

                                 DEFENDANT’S PRODUCT(S)

       16.     Defendant offers solutions, such as the “Oracle Big Data MAA” system (the

“Accused System”), that enables a method for protection switching of geographically separate

systems arranged in pairs. For example, the Accused System performs the method for protection

switching of geographically separate systems arranged in pairs. A non-limiting and exemplary

claim chart comparing the Accused System of Claim 1 of the ‘980 Patent is attached hereto as

Exhibit B and is incorporated herein as if fully rewritten.

       17.     As recited in Claim 1, a system, at least in internal testing and usage, utilized by

the accused system practices a method for protection switching of geographically separate (e.g.,



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distributed or remote Hadoop Namenode server) switching systems arranged in pairs (e.g., one

server is in active state and other server in hot standby state). The Accused System architecture

can be utilized for Hadoop architecture. A Hadoop distributed file system (HDFS) has high

availability feature. It consists of two separate Namenode servers, one of the Namenodes is in

active state and the other is in standby state. See Exhibit B.

       18.     As recited in one step of Claim 1, the system, at least in internal testing and usage,

utilized by the Accused System practices providing a pair of switching systems (e.g., active and

standby Namenode servers) which are geographically separate (e.g., distributed or remote

Namenode servers) and which supply a dedicated redundancy to each other, one of the pair of

switching systems is in an active operating state and the other is in a hot-standby operating state.

The Hadoop distributed file system (HDFS) architecture provides a pair of Namenode servers, one

of the servers in active state and other in standby state. The standby server (i.e., hot standby

switching system) keeps its state synchronized with the active server to perform fast failover. See

Exhibit B.

       19.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused System practices controlling the communication between the each

of the pair switching system (e.g., distributed Namenode servers) and a monitoring unit (e.g.,

Zookeeper) in accordance with the operating state (e.g., either active or hot standby) of the

respective switching system. The monitoring unit (i.e., Zookeeper) monitors status and health of

Namenode servers through Zookeeper failover controller. Upon information and belief, the system

comprises a controlling unit or administrative unit which configures and manages the Zookeeper

services (i.e., monitoring unit) and controls communication between Zookeeper and Namenode

servers. See Exhibit B.




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       20.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused System practices determining a loss of the communication to the

switching system in the active operating state (e.g., active Namenode server). The system utilized

by the Accused System comprises a Zookeeper failover controller which pings a health check

message to an active Namenode server and informs Zookeeper about the state of the Namenode

server. When the controller doesn’t receive response message from the active Namenode server,

it determines that the server is lost or not available and informs Zookeeper about the monitoring

status of the server. See Exhibit B.

       21.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused System practices activating, by the monitoring unit (e.g.,

Zookeeper), the switching system (e.g., Namenode server) in the hot-standby operating state to be

in the active operating state, and deactivating, by the monitoring unit, the switching system with

the communication loss to be in the hot-standby operating state, wherein when in the hot-standby

operating state, the respective switching system is not active in terms of switching functions; and

further features: periodically sending an IP lease request to the monitoring unit by a packet-based

interface of the switching system in the hot-standby operating state, the packet-based interface is

in an inactive state. The system utilized by the Accused System comprises a Zookeeper failover

controller which pings a health check message to an active Namenode server and informs

Zookeeper about the state of the Namenode server. When the controller doesn’t receive response

message from the active Namenode server, it determines that the server is lost or not available and

informs Zookeeper about the monitoring status of the server. Zookeeper (i.e., monitoring unit)

switches states of Namenode server pair, the server which is in hot-standby state becomes active

and the other server which is in active state goes in hot-standby state. Upon information and belief,




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the hot-standby Namenode server periodically pings the Zookeeper for network resources through

the Zookeeper failover controller so that it can be prepared to become an active server. The server

sends an IP lease request to the monitoring unit (e.g., Zookeeper). A virtual IP of Hadoop domain

is assigned to the active node, but in case of failover the IP will be brought up on the standby

Namenode. Thus, the standby Namenode must request for IP lease to the monitoring unit (e.g.,

Zookeeper). See Exhibit B.

       22.     The elements described in paragraphs 17-21 are covered by at least Claim 1 of the

‘980 Patent. Thus, Defendant’s use of the Accused System is enabled by the method described in

the ‘980 Patent.

                              INFRINGEMENT OF THE ‘980 PATENT

       23.     Plaintiff realleges and incorporates by reference all of the allegations set forth in

Paragraphs 1 to 22.

       24.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘980 Patent.

       25.     Defendant has had knowledge of infringement of the ‘980 Patent at least as of the

service of the present Complaint.

       26.      Defendant has directly infringed and continues to directly infringe at least one

claim of the ‘980 Patent by using, at least through internal testing or otherwise, the Accused System

without authority in the United States, and will continue to do so unless enjoined by this Court.

As a direct and proximate result of Defendant’s direct infringement of the ‘980 Patent, Plaintiff

has been and continues to be damaged.

       27.     By engaging in the conduct described herein, Defendant has injured Plaintiff and is

thus liable for infringement of the ‘980 Patent, pursuant to 35 U.S.C. § 271.




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       28.       Defendant has committed these acts of infringement without license or

authorization.

       29.       As a result of Defendant’s infringement of the ‘980 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       30.       Plaintiff will continue to suffer damages in the future unless Defendant’s infringing

activities are enjoined by this Court. As such, Plaintiff is entitled to compensation for any

continuing and/or future infringement up until the date that Defendant is finally and permanently

enjoined from further infringement.

       31.       Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim charts that it provides with this Complaint. The claim chart depicted in

Exhibit B is intended to satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of

Civil Procedure and does not represent Plaintiff’s preliminary or final infringement contentions

or preliminary or final claim construction positions.

                                  DEMAND FOR JURY TRIAL

       32.       Plaintiff demands a trial by jury of any and all causes of action.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

       a. That Defendant be adjudged to have directly infringed the ‘980 Patent either literally

or under the doctrine of equivalents;

       b. An accounting of all infringing sales and damages including, but not limited to, those

sales and damages not presented at trial;




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          c. That Defendant, its officers, directors, agents, servants, employees, attorneys, affiliates,

divisions, branches, parents, and those persons in active concert or participation with any of them,

be permanently restrained and enjoined from directly infringing the ‘980 Patent;

          d. An award of damages pursuant to 35 U.S.C. § 284 sufficient to compensate Plaintiff

for the Defendant’s past infringement and any continuing or future infringement up until the date

that Defendant is finally and permanently enjoined from further infringement, including

compensatory damages;

          e. An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. § 284;

          f. That Defendant be directed to pay enhanced damages, including Plaintiff’s attorneys’

fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

          g. That Plaintiff be granted such other and further relief as this Court may deem just and

proper.

 Dated: March 28, 2019                             Respectfully submitted,

                                                   DEVLIN LAW FIRM, LLC

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